                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                              :
                                               :
             v.                                :      CRIMINAL NO. 16-428
                                               :
DAVID T. SHULICK


            GOVERNMENT=S MOTION TO SUPPLEMENT RECORD

      At the sentencing hearing in he above-captioned matter, defendant’s expert

witness, Frederick Hamilton, relied on a binder full of materials that, in his view,

supported his opinion.      Hamilton expressly referred to the materials during

questioning by both parties and by the Court. The government, for its part, cross-

examined Hamilton extensively about the materials in the binder. As a result of

Hamilton’s use of the materials during the sentencing hearing and the extensive

questioning about the materials, they are part of the record on appeal. However,

because defendant has recently suggested a view to the contrary, the government

respectfully requests that the court formally supplement the record to include the

binder of materials used at the sentencing hearing by Hamilton.

      Fed. R. App. 10(e) provides that the district court may grant a motion to

supplement the record where “anything material to either party is omitted from or

misstated in the record by error or accident.” Although Rule 10(e) does not “permit a

district court to supplement the record with evidence outside of its proceedings,” it does

“provide a mechanism for ensuring that the record reflects accurately what transpired


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in the district court.” United States v. Guibilo, Crim. A. No. 04-558, 2009 WL 1209261,

at *1 (D.N.J. May 4, 2009); see also United States v. Weisinger, Crim. A. No. 86-379,

1987 WL 26621, at *1 (E.D.Pa. Dec. 1, 1987) (granting motion to supplement the trial

record with two sidebar discussions which were not transcribed).          In Mercer v.

Allegheny Ludlum Corp., 135 F.R.D. 115, 116 (W.D.Pa. 1990), the court granted the

parties’ motion to supplement the appellate record with a series of letters that had not

been entered into the district court record.    The court reasoned that “[w]hile the

documents the defendants seek to make part of the record were not read verbatim at

argument, nevertheless, they were alluded to and were considered by the Court” in

making its ruling. See id. The same is true in this case. Although the binder of

materials used by Hamilton at sentencing was not formally marked as an exhibit, it

was reviewed at length by the parties during the hearing and considered by the court

in making its ruling.




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         To the extent that the binder of materials was not formally entered into the

record, that was merely an oversight which can be remedied under Fed. R. App. 10(e).1


                                                       Respectfully submitted,

                                                       WILLIAM M. MCSWAIN
                                                       United States Attorney


                                                       /s/ Michael T. Donovan
                                                       MICHAEL T. DONOVAN
                                                       CHRISTOPHER J. MANNION
                                                       Assistant United States Attorneys


Dated: October 29, 2018




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  Where relief is denied under Fed. R. App. 10(e), the reason is typically that the party seeking relief is attempting to
present evidence that had not previously been considered by the district court in making its ruling. See, e.g., Burton v.
Teleflex, Inc., 707 F.3d 417, 436 (3d Cir. 2013) (denying motion to supplement the record with an affidavit by
plaintiff’s lawyer and a series of emails because they had not been presented to the district court). The present case is
distinguishable because the binder of materials was presented at the sentencing, used by the witness, referenced at
length by the parties and considered by the court.

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                          CERTIFICATE OF SERVICE

      I hereby certify that I caused a copy of the foregoing to be served by electronic

filing on the Court’s Electronic Case Filing system on:

                 Hope Lefeber, Esquire at: hope@hopelefeber.com

                        Attorney for defendant David Shulick



                                         /s/ Michael T. Donovan
                                       Michael T. Donovan
                                       Assistant United States Attorney


Dated: October 29, 2018




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